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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )        8:08CR360-1
                                              )
                      vs.                     )        ORDER OF COURT
                                              )        TO DISMISS THE INDICTMENT
THOMAS MENDICINO,                             )
                                              )
                      Defendant.              )

       IT IS ORDERED, pursuant to Federal Rule of Criminal Procedure 48(a), leave of Court

is granted for the dismissal without prejudice of the Indictment regarding Defendant,

THOMAS MENDICINO, pursuant to Motion of the United States (Filing No. 43).

       DATED this 27th day of February, 2009.

                                              BY THE COURT:




                                              s/ Joseph F. Bataillon
                                              JOSEPH F. BATAILLON
                                              United States Chief District Judge
